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                 UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF MICHIGAN
                      SOUTHERN DIVISION

TIMOTHY KING, et.al.,                       Case No. 20-cv-13134
    Plaintiffs,                             Hon. Linda V. Parker

v.

GRETCHEN WHITMER, in her official capacity
as Governor of the State of Michigan, et.al.,
     Defendants,

and

ROBERT DAVIS,
     Intervenor Defendant.
__________________________________________________________________/
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__________________________________________________________________/

  INTERVENOR DEFENDANT ROBERT DAVIS’ RESPONSE TO
     PLAINTIFFS’ MOTION FOR VOLUNTARY DISMISSAL



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   WITHOUT PREJUDICE WITH RESPECT TO INTERVENING
        DEFENDANT ROBERT DAVIS (ECF NO. 92).


      NOW COMES, INTERVENOR DEFENDANT ROBERT DAVIS

 (hereinafter “Intervenor Defendant Davis”), by and through his

 attorney, ANDREW A. PATERSON, and for his Response to Plaintiffs’

 Motion for Voluntary Dismissal Without Prejudice With Respect to

 Intervening Defendant Robert Davis (ECF No. 92), states the following:


                             I.    Introduction


      On January 17, 2021, Plaintiffs’ incorrectly filed their motion for

 voluntary dismissal with respect to Intervening Defendant Robert

 Davis as a notice of voluntary dismissal. (ECF No. 92). After refusing

 to strike the improperly filed notice of dismissal, on January 25, 2020,

 the Court entered an order requiring Intervening Defendant Davis to

 file a response to Plaintiffs’ motion for voluntary dismissal (ECF No. 92)

 on or before February 5, 2021. (ECF No. 100). For the reasons stated

 below, Intervening Defendant Davis respectfully requests the Court to

 GRANT Plaintiffs’ motion for voluntary only to the extent that said

 dismissal is contingent upon the Plaintiffs paying Intervening

 Defendant Davis’ attorney’s fees and costs.

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                       II.   Law and Legal Analysis

      Plaintiffs’ Voluntary Dismissal of this Action Shall Be
    Contingent Upon Plaintiffs Paying Intervening Defendant
                      Davis’ Attorney’s Fees.

      Rule 41(a)(2) of the Federal Rules of Civil Procedure requires a

plaintiff to seek an order of the court or stipulation of the opposing

party to voluntarily dismiss an action where, as is the case here, the

opposing party has filed an answer or motion for summary judgment.

Fed. R. Civ. P. 41(a)(2). The decision whether to dismiss a complaint

under Rule 41(a)(2) lies within the sound discretion of the court. Grover

by Grover v. Eli Lilly & Co., 33 F.3d 716, 718 (6th Cir. 1994) (citing

Banque de Depots v. Nat'l Bank of Detroit, 491 F.2d 753, 757 (6th Cir.

1974)). However, Rule 41(a)(2) authorizes courts to impose “terms that

the court considers proper” when granting a plaintiff's motion to

voluntarily dismiss. Fed. R. Civ. P. 41(a)(2). Here, Intervening

Defendant Davis opposes the Plaintiffs’ motion (ECF No. 92), only to

the extent that Intervening Defendant Davis wants any

dismissal conditioned on an award of costs and attorney’s fees.




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       Plaintiffs’ motion for voluntary dismissal seeks a dismissal

without prejudice1. (ECF No. 92, PageID. 4052). An award of attorney's

fees under Rule 41(a)(2) is generally appropriate when a lawsuit is

voluntarily dismissed without prejudice. Colombrito v. Kelly, 764 F.2d

122, 133 (2d Cir. 1985); see also Spar Gas, Inc. v. AP Propane, Inc., No.

91-6040, 1992 WL 172129, at *2 (6th Cir. July 22, 1992) (quoting Smoot

v. Fox, 353 F.2d 830, 933 (6th Cir. 1965) (“Smoot II”) (“The rule in this

circuit has long been that attorneys' fees are not awardable on a

dismissal with prejudice, but are permitted against the dismissing

party on a dismissal without prejudice . . .”). “The purpose of such

awards is . . . to reimburse the defendant for the litigation costs

incurred, in view of the risk (often the certainty) faced by the defendant

that the same suit will be refiled and will impose duplicative expenses

upon him.” Colombrito, 764 F.2d at 133; see also Smoot II, 353 F.2d at

833.



1  Counsel for Intervening Defendant Davis requested Plaintiffs’ counsel to agree to
 the dismissal of tis action with prejudice, but Plaintiffs’ counsel refused. Had
 Plaintiffs’ counsel agreed to the dismissal of this action with prejudice, there would
 not have been a legal basis for objecting to the dismissal under additional conditions
 for “[i]t is an abuse of discretion for a [c]ourt to refuse to grant such a dismissal with
 prejudice.” Bridgeport Music, Inc. v. Universal-MCA Music Publ'g, Inc., 345 F. Supp.
 2d 836, 841 (M.D. Tenn. 2004) (citing Smoot v. Fox, 340 F.2d 301, 302-03 (6th Cir.
 1964)).

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      Among the factors considered in determining whether to award

defense costs under Rule 41(a)(2) are:

     “(1) whether the plaintiff acted in good faith in bringing and
     prosecuting the litigation; (2) whether the defendant incurred
     substantial expenses in defending the action; (3) whether the
     plaintiff delayed in bringing the motion to dismiss; and (4)
     whether the work performed can be used in a subsequently filed
     action.”
Seals v. Scutt, No. 10-cv-15054, 2011 WL 1793331, at *2 (E.D. Mich.

Apr. 20, 2011) (quoting Yetman v. CSX Transp., Inc., No. 08-1130, 2009

WL 35351, at *3 (W.D. Mich. Jan.6, 2009) (citations omitted).

      For the reasons set forth in the multiple motions for sanctions filed

 by the Defendants and Intervening Defendants, it is clearly evident that

 the Plaintiffs did not act in good faith when they filed the instant action.

 In fact, as the Court recognized in its thorough and well-written opinion:

 “this lawsuit seems to be less about achieving the relief Plaintiffs seek—

 as much of that relief is beyond the power of this Court— and more about

 the impact of their allegations on People’s faith in the democratic process

 and their trust in our government.” (Opinion and Order, ECF No. 62,

 PageID. 3329-3330).       Intervening Defendant Davis also incurred

 substantial expenses in defending this litigation. Intervening Defendant

 Davis had to retain counsel to file a motion to intervene in order to protect


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 Intervening Defendant Davis’ rights as a registered elector who lawfully

 cast his vote in the November 2020 general election, which resulted in

 Intervening Defendant Davis’ counsel filing various motions and a

 response to Plaintiffs’ frivolous motion for preliminary injunction.

         With respect to the two remaining elements, Plaintiffs waited until

 their frivolous appeals were not granted expedited consideration by the

 United States Supreme Court to move to voluntarily dismiss this

 frivolous action and the work performed by Intervening Defendant Davis’

 counsel cannot be used in any subsequent litigation the Plaintiffs’ may

 file because Plaintiffs’ frivolous claims, which sought to void the results

 from the November 2020 presidential general election, are now moot.

                               CONCLUSION

         WHEREFORE, for the foregoing reasons, Intervening Defendant

Davis prays that this Honorable Court GRANT Plaintiffs’ motion to

voluntarily dismiss this action contingent and conditioned upon

Plaintiffs paying Intervening Defendant Davis’ attorney’s fees and

costs.




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Dated: February 5, 2021             Respectfully submitted,

                               /s/ ANDREW A. PATERSON
                               ANDREW A. PATERSON (P18690)
                               Attorney for Intervenor Defendant
                               Robert Davis
                               2893 E. Eisenhower
                               Ann Arbor, MI 48108
                               (248) 568-9712
                      CERTIFICATE OF SERVICE

      I, ANDREW A. PATERSON, certify that forgoing document(s) was

filed and served via the Court's electronic case filing and noticing

system (ECF) this 5th day of February, 2021, which will automatically

send notification of such filing to all attorneys and parties of record

registered electronically.

Dated: February 5, 2021             Respectfully submitted,

                                    /s/ ANDREW A. PATERSON
                                    ANDREW A. PATERSON (P18690)
                                    Attorney for Intervenor Defendant
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